IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
JOYCE CLEVELAND, RON GREEN, )
and CHRISTOPHER BROWN, )
) Case No.
Plaintiffs, )
) Judge
v. )
) Magistrate Judge
HYUNDAI SUBARU OF NASHVILLE, )
INC., ) Jury Demand
)
Defendant. )
COMPLAINT

For their Complaint against defendant Hyundai Subaru of Nashville, Inc. (“defendant”),

plaintiffs Joyce Cleveland, Ron Green, and Christopher Brown (“plaintiffs”) state:

PARTIES
1. Plaintiffs are each former employees of defendant
2. Defendant Hyundai Subaru of Nashville, lnc., is a Tennessee corporation With its

principal place of business at 1512 Broadway, Nashville, Davidson County, Tennessee 37203-
3122. Defendant may be served With process through its registered agent, CT Corporation
System, 800 S. Gay Street, Suite 2021, Knoxville, Tennessee 37929-9710.

3. Defendant operates for-profit, franchised automobile dealerships Within the
Middle District of Tennessee. At all relevant times, defendant employed more than 15
individuals, including plaintiffs

JURISDICTION AND VENUE
4. This is an action for damages and equitable relief for unlawful employment

practices Plaintiffs Cleveland and Green bring their claims under 42 U.S.C. § 1981 (“Section

Case 3:15-cv-OO475 Document 1 Filed 04/22/15 Page 1 of 6 Page|D #: 1

1981”). Plaintiff Brown brings his claims under Section 1981 and the Tennessee Human Rights
Act, Tenn. Code Ann. § 4-21-101, et seq. (“THRA”). The Court has jurisdiction under 28
U.S.C. §§ 1331, 1343(a)(4), and 1367(a). Venue is proper under 28 U.S.C. § 1391.

5. Plaintiff Brown reserves the right to amend this complaint to assert claims under
Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq. (“Title VII”).
Mr. Brown timely filed a Charge of Discrimination with the U.S. Equal Employment
Opportunity Commission (EEOC) on April 24, 2014. Once he obtains a notice of suit rights
from the EEOC he will amend this complaint within 90 days of his receipt of the notice to state
claims under Title VlI.

FACTS

6. Plaintiffs are African-American individuals who were formerly employed by
defendant as salespersons at its automobile dealership in Nashville, Tennessee.

7. Plaintiffs performed their jobs for defendant in an excellent manner and did not
receive any disciplinary action during their employment

8. During plaintiffs’ employment, defendant discriminated against plaintiffs because
of their race with respect to the terms, conditions and privileges of employment, including
paying plaintiffs less than similarly situated non-African-American employees; not paying
plaintiffs money they had earned; changing, inflating and overstating the dollar amount that
defendant had paid for vehicles on purchase and costs sheets for plaintiffs and African-American
salespersons, thereby reducing their compensation, but not doing so for Caucasian salespersons;
providing plaintiffs less valuable benefits than similarly situated non-African-American
employees; prohibiting plaintiffs from working in the front area of the dealership and impairing

their ability to make sales while allowing Caucasian salespersons to do so; intentionally and

Case 3:15-cv-OO475 Document 1 FZ|ed 04/22/15 Page 2 of 6 Page|D #: 2

deliberately diverting certain sales leads to Caucasian employees and cutting off plaintiffs’ and
African-American salespersons’ access to those leads; prohibiting plaintiffs and other African-
American employees from standing together on the dealership’s premises and making
discriminatory comments about their doing so while allowing Caucasian employees to stand
together and making no comments about their doing so; and discharging plaintiffs, all because of
race.

9. During plaintiffs’ employment, defendant created, allowed, maintained and failed
to remedy a racially hostile work environment that altered the conditions of plaintiffs’
employment Plaintiffs and other African-American employees were subjected to repeated
racially derogatory slurs and comments and racially offensive jokes, constantly referred to in
racially derogatory terms, and subjected to threats, mistreatment and disparate treatment as
compared to their Caucasian colleagues by defendant’s Caucasian managerial agents. For
example, one of defendant’s Caucasian managers walked around the dealership showroom
carrying a rifle and making racial comments such as, “Get back to work, boy” and “nigger.”
Further, when plaintiffs attempted to make sales to African-American customers, defendant’s
Caucasian managers would interfere with or impair those efforts and make discriminatory
statements about the customers, further evidencing their race-based discriminatory animus

10. Defendant further retaliated against plaintiffs because of their opposition to
defendant’s racially offensive and unlawful conduct. Plaintiffs complained about defendant’s
Caucasian managers’ discriminatory conduct Defendant took no corrective or remedial action.
Instead, defendant’s Caucasian managers subjected plaintiffs to retaliatory harassment and
discharged them in retaliation for their protected activity. For example, Plaintiff Brown orally

complained about and also sent an email to defendant’s corporate headquarters opposing racial

Case 3:15-cv-OO475 Document 1 F-?|ed 04/22/15 Page 3 of 6 Page|D #: 3

discrimination Shortly thereafter, defendant discharged him and handed him a copy of the email
when it did so.

ll. After announcing in the workplace before numerous witnesses, including but not
limited to plaintiffs Cleveland and Green and other current and former African-American and
Caucasian employees, that it was “going to get rid of all of the black employees” and “fire all of
the black employees,” defendant discharged plaintiffs because of their race and/or their
complaining about and opposing defendant’s unlawful conduct.

12. Defendant’s alleged reasons for discharging plaintiffs are pretexts for
discrimination and/or retaliation. For example, Plaintiff Green asked defendant’s Caucasian
General Manager why he was firing him and was told that his “services are no longer needed.”
Defendant’s General Manager then inexplicably told Plaintiff Cleveland that he was firing her at
the same time because she allegedly was “not the right fit.” No other reasons were provided for
their sudden discharges Plaintiffs and other witnesses are aware of Caucasian salespersons who
worked for defendant and who received warnings and write ups instead of being discharged in
the manner that plaintiffs were.

13. As a result of defendant’s conduct as described in this complaint, plaintiffs have
suffered damages

Claims for Race Discrimination, Racially Hostile Work Environment, and Retaliation

14. Plaintiffs hereby incorporate and reallege the factual averments as set forth in
paragraphs 1 through 13 herein.

15. Defendant discriminated against plaintiffs in the terms, conditions and privileges

of their employment and discharged plaintiffs because of their race and/or in retaliation for their

Case 3:15-cv-OO475 Document 1 Filed 04/22/15 Page 4 of 6 Page|D #: 4

opposition to defendant’s racially offensive and unlawful conduct, including repeated racially
derogatory comments, threats and other mistreatment

16. Defendant created, allowed, maintained and failed to remedy a racially hostile
work environment that altered the conditions of plaintiffs’ employment

17. Defendant retaliated against plaintiffs because of their opposition to defendant’s
racially offensive and unlawful conduct

18. As a result of its conduct, defendant is liable to plaintiffs in an amount to be
determined by the jury for the damages plaintiffs have suffered.

19. As a result of its conduct, defendant is also liable for punitive damages and for
plaintiffs’ attorneys’ fees and costs

20. As a result of its conduct, defendant is obligated to make plaintiffs whole for all

lost earnings and benefits

WHEREFORE, premises considered, plaintiffs demand the following relief:

l. A jury trial and entry of j udgment in their favor;
2. Back pay and damages for lost benefits;
3. Compensatory damages for embarrassment and humiliation, emotional pain and

suffering and mental anguish, stress and anxiety, inconvenience, and loss of enjoyment of life;

4. Reinstatement or, altematively, front pay and damages for lost benefits;

5. Punitive damages;

6. Attorneys’ fees and expenses;

7. Prejudgment interest and, if applicable, post judgment interest; and

8. Such other and further legal or equitable relief to which they may be entitled.

Case 3:15-cv-OO475 Document 1 F$|ed 04/22/15 Page 5 of 6 Page|D #: 5

Respectfully submitted,

Gay/1

stephen W o;ac/ e(BPR NO 14867)
101916hAvenue,South
Nashville, Tennessee 37212

(615) 255-5225

®a,i,(a 7 1111 /a

Douglasjlé Janney III{(B R /PNdel 12)
2002 Richard Jones Road

Suite B-200

Nashville, Tennessee 37215

(615) 742-5900

 

Attorneys for Plaintiffs

Case 3:15-cv-OO475 Document 1 |§i|ed 04/22/15 Page 6 of 6 Page|D #: 6

